803 F.2d 1180Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David CARR, Plaintiff-Appellant,v.CIRCUIT COURT OF KANAWHA COUNTY, Defendant-Appellee.
    No. 86-7631.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 8, 1986.Decided Oct. 17, 1986.
    
      David Carr, appellant pro se.
      Charles Emerson King, County Attorney's Office, for appellee.
      S.D.W.Va.
      AFFIRMED.
      Before RUSSELL, SPROUSE and ERVIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from that court's order denying Carr's petition for a writ of mandamus and dismissing Carr's complaint arising under 42 U.S.C. Sec. 1983 as frivolous is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Carr v. Circuit Court of Kanawha County, C/A No. 86-598 (S.D.W.Va., May 19, 1986).
    
    
      2
      AFFIRMED.
    
    